                Case 1:22-cv-00101-JLH-CJB                                  Document 1-4                        Filed 01/25/22                              Page 1 of 1 PageID #:
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SURYLGHGE\ORFDOUXOHVRIFRXUW7KLVIRUPDSSURYHGE\WKH-XGLFLDO&RQIHUHQFHRIWKH8QLWHG6WDWHVLQ6HSWHPEHULVUHTXLUHGIRUWKHXVHRIWKH&OHUNRI&RXUWIRUWKH
SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

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PROPHASE LABS, INC.                                                                                      PREDICTIVE LABORATORIES, INC. and PREDICTIVE
                                                                                                         TECHNOLOGY GROUP, INC.

    E &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII       New Castle                                    &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW                                Salt Lake County
                              (EXCEPT IN U.S. PLAINTIFF CASES)                                                                        (IN U.S. PLAINTIFF CASES ONLY)
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    F $WWRUQH\V(Firm Name, Address, and Telephone Number)                                              $WWRUQH\V(If Known)
Kurt F. Gwynne, Mark W. Eckard, Reed Smith LLP, 1201 Market Street,
Suite 1500, Wilmington, DE 19801


,,%$6,62)-85,6',&7,21(Place an “X” in One Box Only)                                  ,,,&,7,=(16+,32)35,1&,3$/3$57,(6 (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                                               and One Box for Defendant)
u  86*RYHUQPHQW              u  )HGHUDO4XHVWLRQ                                       37) '()         37)  '()
        3ODLQWLII                         (U.S. Government Not a Party)                        &LWL]HQRI7KLV6WDWH                              u     u    ,QFRUSRUDWHGor3ULQFLSDO3ODFH                             u     u 
                                                                                                                                                                RI%XVLQHVV,Q7KLV6WDWH

u  86*RYHUQPHQW              u  'LYHUVLW\                                              &LWL]HQRI$QRWKHU6WDWH                  u          u        ,QFRUSRUDWHGand3ULQFLSDO3ODFH                   u          u 
        'HIHQGDQW                         (Indicate Citizenship of Parties in Item III)                                                                            RI%XVLQHVV,Q$QRWKHU6WDWH

                                                                                               &LWL]HQRU6XEMHFWRID                   u          u        )RUHLJQ1DWLRQ                                     u          u 
                                                                                               )RUHLJQ&RXQWU\
,91$785(2)68,7(Place an “X” in One Box Only)                                                                                                    &OLFNKHUHIRU1DWXUHRI6XLW&RGH'HVFULSWLRQV
          &2175$&7                                          72576                                 )25)(,785(3(1$/7<                                    %$1.5837&<                                27+(567$787(6
u ,QVXUDQFH                  3(5621$/,1-85<          3(5621$/,1-85<           u 'UXJ5HODWHG6HL]XUH                    u $SSHDO86&                      u )DOVH&ODLPV$FW
u 0DULQH                     u $LUSODQH                u 3HUVRQDO,QMXU\             RI3URSHUW\86&                 u :LWKGUDZDO                             u 4XL7DP 86&
u 0LOOHU$FW                 u $LUSODQH3URGXFW                3URGXFW/LDELOLW\     u 2WKHU                                        86&                                  D
u 1HJRWLDEOH,QVWUXPHQW               /LDELOLW\          u +HDOWK&DUH                                                                                                         u 6WDWH5HDSSRUWLRQPHQW
u 5HFRYHU\RI2YHUSD\PHQW u $VVDXOW/LEHO                    3KDUPDFHXWLFDO                                                          3523(57<5,*+76                           u $QWLWUXVW
      (QIRUFHPHQWRI-XGJPHQW           6ODQGHU                    3HUVRQDO,QMXU\                                                      u &RS\ULJKWV                             u %DQNVDQG%DQNLQJ
u 0HGLFDUH$FW               u )HGHUDO(PSOR\HUV¶              3URGXFW/LDELOLW\                                                    u 3DWHQW                                 u &RPPHUFH
u 5HFRYHU\RI'HIDXOWHG               /LDELOLW\          u $VEHVWRV3HUVRQDO                                                       u 3DWHQW$EEUHYLDWHG                   u 'HSRUWDWLRQ
     6WXGHQW/RDQV              u 0DULQH                          ,QMXU\3URGXFW                                                        1HZ'UXJ$SSOLFDWLRQ                u 5DFNHWHHU,QIOXHQFHGDQG
      ([FOXGHV9HWHUDQV         u 0DULQH3URGXFW                  /LDELOLW\                                                           u 7UDGHPDUN                                   &RUUXSW2UJDQL]DWLRQV
u 5HFRYHU\RI2YHUSD\PHQW             /LDELOLW\           3(5621$/3523(57<                        /$%25                               62&,$/6(&85,7<                            u &RQVXPHU&UHGLW
     RI9HWHUDQ¶V%HQHILWV      u 0RWRU9HKLFOH           u 2WKHU)UDXG               u )DLU/DERU6WDQGDUGV                    u +,$ II                                  86&RU
u 6WRFNKROGHUV¶6XLWV        u 0RWRU9HKLFOH           u 7UXWKLQ/HQGLQJ               $FW                                    u %ODFN/XQJ                         u 7HOHSKRQH&RQVXPHU
u 2WKHU&RQWUDFW                      3URGXFW/LDELOLW\   u 2WKHU3HUVRQDO            u /DERU0DQDJHPHQW                        u ',:&',::  J                            3URWHFWLRQ$FW
u &RQWUDFW3URGXFW/LDELOLW\ u 2WKHU3HUVRQDO                  3URSHUW\'DPDJH             5HODWLRQV                              u 66,'7LWOH;9,                         u &DEOH6DW79
u )UDQFKLVH                           ,QMXU\              u 3URSHUW\'DPDJH           u 5DLOZD\/DERU$FW                       u 56,  J                             u 6HFXULWLHV&RPPRGLWLHV
                                 u 3HUVRQDO,QMXU\               3URGXFW/LDELOLW\      u )DPLO\DQG0HGLFDO                                                                        ([FKDQJH
                                          0HGLFDO0DOSUDFWLFH                                      /HDYH$FW                                                                           u 2WKHU6WDWXWRU\$FWLRQV
     5($/3523(57<                   &,9,/5,*+76          35,621(53(7,7,216            u 2WKHU/DERU/LWLJDWLRQ                    )('(5$/7$;68,76                          u $JULFXOWXUDO$FWV
u /DQG&RQGHPQDWLRQ          u 2WKHU&LYLO5LJKWV           +DEHDV&RUSXV             u (PSOR\HH5HWLUHPHQW                     u 7D[HV 863ODLQWLII                  u (QYLURQPHQWDO0DWWHUV
u )RUHFORVXUH                u 9RWLQJ                  u $OLHQ'HWDLQHH                 ,QFRPH6HFXULW\$FW                          RU'HIHQGDQW                          u )UHHGRPRI,QIRUPDWLRQ
u 5HQW/HDVH (MHFWPHQW     u (PSOR\PHQW              u 0RWLRQVWR9DFDWH                                                       u ,56²7KLUG3DUW\                             $FW
u 7RUWVWR/DQG              u +RXVLQJ                        6HQWHQFH                                                                  86&                           u $UELWUDWLRQ
u 7RUW3URGXFW/LDELOLW\              $FFRPPRGDWLRQV      u *HQHUDO                                                                                                              u $GPLQLVWUDWLYH3URFHGXUH
u $OO2WKHU5HDO3URSHUW\    u $PHUZ'LVDELOLWLHV u 'HDWK3HQDOW\                       ,00,*5$7,21                                                                            $FW5HYLHZRU$SSHDORI
                                          (PSOR\PHQW               2WKHU                     u 1DWXUDOL]DWLRQ$SSOLFDWLRQ                                                                $JHQF\'HFLVLRQ
                                 u $PHUZ'LVDELOLWLHV u 0DQGDPXV 2WKHU           u 2WKHU,PPLJUDWLRQ                                                                    u &RQVWLWXWLRQDOLW\RI
                                          2WKHU               u &LYLO5LJKWV                $FWLRQV                                                                                6WDWH6WDWXWHV
                                 u (GXFDWLRQ               u 3ULVRQ&RQGLWLRQ
                                                               u &LYLO'HWDLQHH
                                                                       &RQGLWLRQVRI
                                                                       &RQILQHPHQW
925,*,1(Place an “X” in One Box Only)
u  2ULJLQDO            u  5HPRYHGIURP              u      5HPDQGHGIURP              u  5HLQVWDWHGRU             u  7UDQVIHUUHGIURPu  0XOWLGLVWULFW                                         u 0XOWLGLVWULFW
    3URFHHGLQJ              6WDWH&RXUW                        $SSHOODWH&RXUW                5HRSHQHG                       $QRWKHU'LVWULFW        /LWLJDWLRQ                                         /LWLJDWLRQ
                                                                                                                    (specify)                        7UDQVIHU                                             'LUHFW)LOH
                                      &LWHWKH86&LYLO6WDWXWHXQGHUZKLFK\RXDUHILOLQJ(Do not cite jurisdictional statutes unless diversity)
                                       28 U.S.C. sec. 1332
9,&$86(2)$&7,21                  %ULHIGHVFULSWLRQRIFDXVH
                                       Breach of contract (promissory note); Assembly and Turnover of Collateral; Unjust Enrichment; Voidable Transacti
9,,5(48(67(',1    u &+(&.,)7+,6,6$&/$66$&7,21      '(0$1'                       &+(&.<(6RQO\LIGHPDQGHGLQFRPSODLQW
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9,,,5(/$7('&$6( 6
                       (See instructions):
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01/25/2022                                                        /s/ Kurt F. Gwynne
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